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                                                                                             04/23/2020

                                 UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF VIRGINIA
                                       CHARLOTTESVILLE DIVISION


  “BABY L,” et al.,
                                                             CASE NO. 3:20-cv-00009
                                     Plaintiffs,

                            v.                               ORDER

  DR. MARK T. ESPER, in his official
  capacity as Secretary of Defense, et al.,                  JUDGE NORMAN K. MOON

                                   Defendants.


       This matter is before the Court on Defendants’ Supplemental Response to Plaintiffs’

Motion for Leave to Proceed Using Pseudonyms and Motion to Seal. Dkt. 21. Therein, Defendants

state that the parties propose to jointly submit proposed redacted versions of certain filings on or

before April 27, 2020. This Court, finding it just and appropriate to do so, DIRECTS the parties

to submit the referenced proposed redacted filings on or before that date.

       Defendants have also filed a proposed, written order memorializing this Court’s February

26, 2020 oral decision on the record denying Plaintiffs’ petition for a temporary restraining order.

Dkt. 21 at 3–4; Dkt. 22. Defendants write that Plaintiffs’ counsel opposes issuance of that

memorialized order in light of Plaintiffs’ voluntary dismissal in the interim. Dkt. 21 at 4 n.4. If

Plaintiffs’ counsel wishes to file an opposition to Defendants’ request in this regard, they shall do

so no later than April 27, 2020.

       It is so ORDERED.




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     The Clerk of Court is hereby directed to send a copy of this Order to all counsel of record.

     ENTERED this ______
                   23rd  day of April, 2020.




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